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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. EDCV 21-01404-JLS (KKx) Date November 30, 2021

 

 

Title Jose Hernandez v. B.M. Transport, Inc. et al

 

PRESENT: HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

Melissa Kunig Not Reported
Deputy Clerk Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANT:
None Present None Present

PROCEEDINGS: (INCHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR
LACK OF PROSECUTION

The Court, on its own motion, hereby ORDERS plaintiff's counsel, to show cause in writing
no later than December 10, 2021, why this action should not be dismissed for lack of
prosecution for failure to file a joint report (FRCivP 26) as required by this Court’s Order
Setting Scheduling Conference (Doc. 16). Plaintiff shall file a written response to this OSC
explaining the failure to comply with this Court’s Order Setting Scheduling Conference, which
response shall be accompanied by the filing of the parties’ Joint Report, including Exhibit A to
the Report. The hearing set for December 3, 2021 is vacated and off calendar.

No oral argument of this matter will be heard unless ordered by the Court. The Order will
stand submitted upon the filing of the required documents on or before the date upon which a
response by plaintiffs is due. Failure to timely and adequately respond will result in the
dismissal of this action without further notice.

 

Initials of Deputy Clerk mku

 

 

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